  Case 1:21-cr-00200-PLM ECF No. 3, PageID.3 Filed 11/17/21 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                              No. 1:21-cr-200
                 Plaintiff,
        V.


 KENNETH PAUL BAUMGARNER,                     Hon. Paul L. Maloney
                                              U.S. District Judge
                 Defendant.
_________/
                                  PLEA AGREEMENT

       This constitutes the plea agreement between Kenneth Paul Baumgarner

(Defendant) and the United States Attorney's Office for the Western District of Michigan.

The terms of the agreement are as follows:

       1.     Plea to Information. Defendant gives up the right to Indictment by a grand

jury and agrees to plead guilty to the Information, charging one count of Embezzlement

of Labor Organization Assets, in violation of Title 29, United States Code, Section 501(c).

       2.     Defendant Understands the Crime. In order for Defendant to be guilty of

violating Title 29, United States Code, Section 501(c), the following must be true: (1)

Defendant was an officer or employee of a labor organization; (2) The labor organization

was engaged in an industry affecting interstate commerce and was subject to the

Labor-Management Reporting and Disclosure Act of 1959; (3) Defendant embezzled,

stole, or converted to his own use money or other assets of such labor organization; and

(4) Defendant acted with fraudulent intent. Defendant is pleading guilty because

Defendant is guilty of the charge described above.
Case 1:21-cr-00200-PLM ECF No. 3, PageID.4 Filed 11/17/21 Page 2 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.5 Filed 11/17/21 Page 3 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.6 Filed 11/17/21 Page 4 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.7 Filed 11/17/21 Page 5 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.8 Filed 11/17/21 Page 6 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.9 Filed 11/17/21 Page 7 of 8
Case 1:21-cr-00200-PLM ECF No. 3, PageID.10 Filed 11/17/21 Page 8 of 8
